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 8                        United States District Court
 9                        Central District of California
10
11   GARY SCHERER,                                  Case No. 2:21-cv-01606-ODW (PDx)

12                       Plaintiff,
                                                    JUDGMENT
13         v.
14   DAVID J. EAGLE, et al.,
                   Defendants.
15
16
17         On February 22, 2021, Plaintiff Gary Scherer initiated this Americans with
18   Disabilities Act (“ADA”) case against Defendants Mattress Pros LLC and David J.
19   Eagle, individually and as trustee of the Eagle Family Trust. (Compl., ECF No. 1.)
20   On March 31, 2021, the Clerk entered default against Eagle (ECF No. 23), and on
21   April 9, 2021, the Clerk entered default against Mattress Pros (ECF No. 25). On April
22   19, 2021, Plaintiff applied for default judgment against Eagle and Mattress Pros, and
23   the Court granted in part and denied in part Plaintiff’s application.
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25   ///
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27   ///
28   ///
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 1         It is therefore ORDERED, ADJUDGED, and DECREED as follows:
 2
 3         1.     Plaintiff shall recover nothing from Defendant David J. Eagle, in his
 4                individual capacity and as trustee of the David J. Eagle Trust (“Eagle”).
 5         2.     Eagle is DISMISSED WITH PREJUDICE.
 6         3.     Defendant Mattress Pros, LLC (“Mattress Pros”) is liable to Plaintiff for
 7                ADA violations at its store at 5600 Laurel Canyon Blvd. in Valley
 8                Village, California (“Store”).
 9         4.     Mattress Pros is ORDERED to position its mattresses and other
10                merchandise in a way that provides for paths of travel of 36 inches or
11                wider inside the Store.
12         5.     Mattress Pros is ORDERED to position its mattresses and other
13                merchandise in a way that provides for a path of travel of 36 inches or
14                wider on any sidewalk at the property where the Store is located.
15         6.     Mattress Pros shall pay Plaintiff One Thousand Seven Hundred
16                Sixty-Five Dollars and Twenty Cents ($1,765.20) in attorneys’ fees and
17                costs.
18
19         The Court VACATES all dates and deadlines. The Clerk of the Court shall
20   close the case.
21
22         IT IS SO ORDERED.
23
24         October 6, 2021
25                                ____________________________________
26                                         OTIS D. WRIGHT, II
                                   UNITED STATES DISTRICT JUDGE
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